        Case
        Case1:20-cv-04809-TCB
             1:20-cv-04809-TCB Document
                               Document78
                                        77 Filed
                                           Filed12/08/20
                                                 12/08/20 Page
                                                          Page11of
                                                                 of27
                                                                    1

                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                    DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                            404-215-1655
 AND CLERK OF COURT
                                        December 8, 2020

Clerk of Court
Supreme Court of the United States
1 First Street, NE
Washington, DC 20543

       U.S.D.C. No.: 1:20-cv-4809-TCB
       U.S.C.A. No.: 00-00000-00
       In re:        Coreco Jaqan Pearson et al v. Brian Kemp et al

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

   X
        Certified Notice of Appeal, Docket Sheet, Judgment and/or Order appealed
        enclosed.

   X    This is not the first notice of appeal. Other notices were filed on: 12/2/20 and
        12/3/20; USCA Case No. 20-14480-RR.

        There is no transcript.

   X    The court reporter is Lori Burgess.

        There is sealed material as described below: .

        Other: .

   X    Fee paid electronically on 12/7/20. (Receipt# AGANDC-10458354)

        Appellant has been leave to appeal in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is .

        The Magistrate Judge is .

   X    The District Judge is Timothy C. Batten, Sr.

        This is a DEATH PENALTY appeal.

                                                              Sincerely,

                                                              James N. Hatten
                                                              District Court Executive
                                                              and Clerk of Court

                                                        By: /s/P. McClam
                                                            Deputy Clerk
Enclosures



                                                                                                       27
      Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 2 of 27


                                                                         4months,APPEAL,CLOSED
                              U.S. District Court
                     Northern District of Georgia (Atlanta)
               CIVIL DOCKET FOR CASE #: 1:20−cv−04809−TCB

Pearson et al v. Kemp et al                                Date Filed: 11/25/2020
Assigned to: Judge Timothy C. Batten, Sr.                  Date Terminated: 12/07/2020
Case in other court: USCA− 11th Circuit, 20−14480−RR       Jury Demand: None
                     USCA− 11th Circuit, 20−14480−RR       Nature of Suit: 441 Civil Rights: Voting
                                                           Jurisdiction: Federal Question
Cause: 42:1983 Civil Rights Act
Plaintiff
Coreco Jaqan Pearson                         represented by Harry W. MacDougald
                                                            Caldwell Propst & DeLoach, LLP
                                                            Suite 1600
                                                            Two Ravina Dr.
                                                            Atlanta, GA 30346
                                                            404−843−1956
                                                            Fax: 404−843−2737
                                                            Email: hmacdougald@cpdlawyers.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                          Howard Kleinhendler
                                                          Howard Kleinhendler Esquire
                                                          369 Lexington Avenue
                                                          12th Floor
                                                          New York, NY 10017
                                                          917−793−1188
                                                          Fax: 732−901−0832
                                                          Email: howard@kleinhendler.com
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          Julia Z. Haller
                                                          Defending the Republic
                                                          601 Pennsylvania Ave, NW
                                                          South Building
                                                          Ste 900
                                                          Washington, DC 20004
                                                          561−888−3166
                                                          LEAD ATTORNEY
                                                          PRO HAC VICE
                                                          ATTORNEY TO BE NOTICED

                                                          L. Lin Wood , Jr.
                                                          L. Lin Wood, P.C.
                                                          P.O. Box 52584
                                                          Atlanta, GA 30355−0584

                                                                                                      1
       Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 3 of 27


                                                 404−891−1402
                                                 Fax: 404−506−9111
                                                 Email: lwood@linwoodlaw.com
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Sidney Powell
                                                 Sidney Powell, PC
                                                 2911 Turtle Creek Blvd
                                                 Suite 300
                                                 Dallas, TX 75219
                                                 214−707−1775
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Vikki Townsend Consiglio             represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Sidney Powell
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Gloria Kay Godwin                    represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)


                                                                               2
       Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 4 of 27


                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Julia Z. Haller
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   L. Lin Wood , Jr.
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Sidney Powell
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Plaintiff
James Kenneth Carroll                represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Howard Kleinhendler
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   Julia Z. Haller
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                   L. Lin Wood , Jr.
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                   Sidney Powell
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Plaintiff
Carolyn Hall Fisher                  represented by Harry W. MacDougald
                                                    (See above for address)


                                                                              3
       Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 5 of 27


                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Sidney Powell
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Cathleen Alston Latham               represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Sidney Powell
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                                              4
       Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 6 of 27



Plaintiff
Brian Jay Van Gundy                       represented by Harry W. MacDougald
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Howard Kleinhendler
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Julia Z. Haller
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         L. Lin Wood , Jr.
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Sidney Powell
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED


V.
Defendant
Brian Kemp                                represented by Carey Allen Miller
in his official capacity as Governor of                  Robbins Ross Alloy Belinfante Littlefield,
Georgia                                                  LLC −Atl
                                                         500 Fourteenth St., N.W.
                                                         Atlanta, GA 30318
                                                         678−701−9381
                                                         Fax: 404−856−3250
                                                         Email: cmiller@robbinsfirm.com
                                                         ATTORNEY TO BE NOTICED

                                                         Charlene S McGowan
                                                         Office of the Georgia Attorney General
                                                         Assistant Attorney General
                                                         40 Capitol Square SW
                                                         Atlanta, GA 30334
                                                         404−458−3658
                                                         Email: cmcgowan@law.ga.gov
                                                         ATTORNEY TO BE NOTICED



                                                                                                      5
        Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 7 of 27


                                                       Joshua Barrett Belinfante
                                                       Robbins Ross Alloy Belinfante Littlefield
                                                       LLC
                                                       500 14th Street, N.W.
                                                       Atlanta, GA 30318
                                                       678−701−9381
                                                       Fax: 404−856−3250
                                                       Email: jbelinfante@robbinsfirm.com
                                                       ATTORNEY TO BE NOTICED

                                                       Melanie Leigh Johnson
                                                       Robbins Ross Alloy Belinfante Littlefield
                                                       LLC
                                                       500 14th Street, N.W.
                                                       Atlanta, GA 30318
                                                       678−701−9381
                                                       Fax: 404−856−3250
                                                       Email: mjohnson@robbinsfirm.com
                                                       ATTORNEY TO BE NOTICED

                                                       Russell D. Willard
                                                       Attorney General's Office−Atl
                                                       Department of Law
                                                       40 Capitol Square, SW
                                                       Atlanta, GA 30334
                                                       404−656−3300
                                                       Email: rwillard@law.ga.gov
                                                       ATTORNEY TO BE NOTICED

Defendant
Brad Raffensperger                         represented by Carey Allen Miller
in his official capacity as Secretary of                  (See above for address)
State and Chair of the Georgia State                      ATTORNEY TO BE NOTICED
Election Board
                                                       Charlene S McGowan
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Joshua Barrett Belinfante
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Melanie Leigh Johnson
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       Russell D. Willard
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Defendant


                                                                                                   6
       Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 8 of 27


David J. Worley                               represented by Carey Allen Miller
in his official capacity as a member of the                  (See above for address)
Georgia State Election Board                                 ATTORNEY TO BE NOTICED

                                                          Charlene S McGowan
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Joshua Barrett Belinfante
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Melanie Leigh Johnson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Russell D. Willard
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
Rebecca N. Sullivan                           represented by Carey Allen Miller
in her official capacity as a member of                      (See above for address)
the Georgia State Election Board                             ATTORNEY TO BE NOTICED

                                                          Charlene S McGowan
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Joshua Barrett Belinfante
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Melanie Leigh Johnson
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Russell D. Willard
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
Matthew Mashburn                              represented by Carey Allen Miller
in his official capacity as a member of the                  (See above for address)
Georgia State Election Board                                 ATTORNEY TO BE NOTICED

                                                          Charlene S McGowan
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                          Joshua Barrett Belinfante


                                                                                       7
       Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 9 of 27


                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Melanie Leigh Johnson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Russell D. Willard
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Defendant
Anh Le                                    represented by Carey Allen Miller
in her official capacity as a member of                  (See above for address)
the Georgia State Election Board                         ATTORNEY TO BE NOTICED

                                                        Charlene S McGowan
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Melanie Leigh Johnson
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        Russell D. Willard
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED


V.
Intervenor Defendant
Democratic Party of Georgia, Inc.         represented by Amanda J. Beane
                                                         Perkins Coie−WA
                                                         1201 Third Avenue
                                                         48th Floor
                                                         Seattle, WA 98101−3099
                                                         206−359−3965
                                                         Email: abeane@perkinscoie.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                        Amanda R. Callais
                                                        Perkins Coie−DC
                                                        Suite 600
                                                        700 Thirteenth St., N.W.
                                                        Washington, DC 20005−2011
                                                        202−654−6396
                                                        Email: acallais@perkinscoie.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE

                                                                                          8
Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 10 of 27


                                          ATTORNEY TO BE NOTICED

                                          Halsey G. Knapp , Jr
                                          Krevolin & Horst, LLC
                                          One Atlantic Center, Ste 3250
                                          1201 West Peachtree St., NW
                                          Atlanta, GA 30309
                                          404−888−9700
                                          Fax: 404−888−9577
                                          Email: hknapp@khlawfirm.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Joyce Gist Lewis
                                          Krevolin & Horst, LLC
                                          1201 W. Peachtree Street, NW
                                          Suite 3250
                                          Atlanta, GA 30309
                                          404−888−9700
                                          Email: jlewis@khlawfirm.com
                                          LEAD ATTORNEY
                                          ATTORNEY TO BE NOTICED

                                          Kevin J. Hamilton
                                          Perkins Coie LLP
                                          1201 Third Avenue
                                          Suite 4900
                                          Seattle, WA 98101−3099
                                          206−359−8741
                                          Email: khamilton@perkinscoie.com
                                          LEAD ATTORNEY
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Marc E. Elias
                                          Perkins Coie LLP
                                          700 13th St NW
                                          Ste 800
                                          Washington, DC 20005
                                          202−654−6200
                                          Email: melias@perkinscoie.com
                                          LEAD ATTORNEY
                                          PRO HAC VICE
                                          ATTORNEY TO BE NOTICED

                                          Matthew Joseph Mertens
                                          Perkins Coie
                                          1120 N.W. Couch, 10th Floor
                                          Portland, OR 97209
                                          503−727−2199
                                          Fax: 503−346−2199
                                          Email: mmertens@perkinscoie.com


                                                                             9
       Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 11 of 27


                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Susan Coppedge
                                                  Office of the United States
                                                  Attorney−ATL600
                                                  Northern District of Georgia
                                                  600 United States Courthouse
                                                  75 Ted Turner Dr., S.W.
                                                  Atlanta, GA 30303
                                                  404−581−6250
                                                  Email: susan.coppedge@usdoj.gov
                                                  (Inactive)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Adam Martin Sparks
                                                  Krevolin & Horst, LLC
                                                  One Atlantic Center, Ste 3250
                                                  1201 West Peachtree St., NW
                                                  Atlanta, GA 30309
                                                  404−888−9700
                                                  Email: sparks@khlawfirm.com
                                                  ATTORNEY TO BE NOTICED

Intervenor Defendant
DSCC                                  represented by Amanda J. Beane
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     PRO HAC VICE
                                                     ATTORNEY TO BE NOTICED

                                                  Amanda R. Callais
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Halsey G. Knapp , Jr
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Joyce Gist Lewis
                                                  (See above for address)
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Kevin J. Hamilton
                                                  (See above for address)
                                                  LEAD ATTORNEY

                                                                                    10
     Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 12 of 27


                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Marc E. Elias
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Matthew Joseph Mertens
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Susan Coppedge
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Adam Martin Sparks
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Intervenor Defendant
DCCC                                represented by Amanda J. Beane
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED

                                                Amanda R. Callais
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                Halsey G. Knapp , Jr
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Joyce Gist Lewis
                                                (See above for address)
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED

                                                Kevin J. Hamilton
                                                (See above for address)
                                                LEAD ATTORNEY
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED

                                                                             11
      Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 13 of 27




                                                      Marc E. Elias
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Matthew Joseph Mertens
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Susan Coppedge
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Adam Martin Sparks
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Intervenor
John Mangano                         represented by Bryan P. Tyson
                                                    Taylor English Duma LLP
                                                    Suite 200
                                                    1600 Parkwood Circle
                                                    Atlanta, GA 30339
                                                    770−434−6868
                                                    Fax: 770−434−7376
                                                    Email: btyson@taylorenglish.com
                                                    ATTORNEY TO BE NOTICED

Intervenor
Alice O'Lenick                       represented by Bryan P. Tyson
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Intervenor
Ben Satterfield                      represented by Bryan P. Tyson
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Intervenor
Wandy Taylor                         represented by Bryan P. Tyson
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED

Intervenor
Stephen Day                          represented by

                                                                                      12
     Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 14 of 27


                                                            Bryan P. Tyson
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED


Date Filed   #   Page Docket Text
11/25/2020   1        COMPLAINT for Declaratory, Emergency, and Permanent Injunctive Relief,
                      filed by Gloria Kay Godwin, Vikki Townsend Consiglio, Coreco Jaqan Pearson,
                      James Kenneth Carroll, Carolyn Hall Fisher, Cathleen Alston Latham, Brian Jay
                      Van Gundy. (Filing fee $400, receipt number AGANDC−10418604)
                      (Attachments: # 1 Exhibit Affidavit Exh. 1, Report of William Briggs, # 2
                      Exhibit Affidavit Redacted Affidavit, # 3 Exhibit Affidavit of Anna Mercedes
                      Diaz Cardozo, # 4 Exhibit Affidavit Declaration of Harri Hursti, # 5 Exhibit
                      Affidavit Embedded Declaration of Harri Hursti, # 6 Exhibit Exhibit SoS
                      Certification of Dominion Voting Systems Democracy Suite 5.5−A, # 7 Exhibit
                      Exhibit Pro V&V Test Report, # 8 Exhibit Exhibit Study "Ballot−Marking
                      Devices (BMDs) Cannot Assure the Will of the, # 9 Exhibit Affidavit Redacted
                      Affidavit of Cyber−Security Expert, # 10 Exhibit Affidavit Affidavit of Russell
                      Ramsland, # 11 Exhibit Affidavit of Mayra Romera, # 12 Exhibit Affidavit of
                      Maria Diedrich, # 13 Exhibit Affidavit of Maria Diedrich, # 14 Exhibit Affidavit
                      of Ursula Wolf, # 15 Exhibit Affidavit of Nicholas J. Zeher, # 16 Exhibit
                      Affidavit of Susan Voyles, # 17 Exhibit Affidavit of Ibrahim Reyes, # 18
                      Exhibit Affidavit of Consetta Johnson, # 19 Exhibit Affidavit of Carlos Silva, #
                      20 Exhibit Affidavit of Andrea O'Neal, # 21 Exhibit Affidavit of Deborah
                      Fisher, # 22 Exhibit Affidavit of Kevin Peterford, # 23 Exhibit Report of Texas
                      Secretary of State Rejecting Dominion Voting Systems, # 24 Exhibit Letter of
                      Rep. Maloney to Smarmatic, # 25 Exhibit Affidavit of Juan Carlos Cobucci, #
                      26 Exhibit Senator Warren et al letter re: Dominion Voting Systems, # 27
                      Exhibit Affidavit of of Eric Quinnell, # 28 Exhibit Affidavit of Mitchell
                      Harrison, # 29 Exhibit Affidavit of Michelle Branton, # 30 Civil Cover
                      Sheet)(rvb) Please visit our website at
                      http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                      Instructions and Pretrial Associated Forms which includes the Consent To
                      Proceed Before U.S. Magistrate form. Modified on 11/27/2020 to add relief text
                      (rvb). (Entered: 11/27/2020)
11/27/2020   2        EIGHTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                      OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                      COVID−19 AND RELATED CORONAVIRUS. Signed by Judge Thomas W.
                      Thrash, Jr. on 09/28/2020. (rvb) (Entered: 11/27/2020)
11/27/2020            Submission of 1 Complaint, to District Judge Timothy C. Batten Sr. (rvb)
                      (Entered: 11/27/2020)
11/27/2020   3        PROPOSED SUMMONS filed by James Kenneth Carroll, Vikki Townsend
                      Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                      Coreco Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Summons
                      Proposed Summons for Anh Le, # 2 Summons Proposed Summons for Matthew
                      Mashburn, # 3 Summons Proposed Summons for Brad Raffensberger, # 4
                      Summons Proposed Summons for Rebecca N. Sullivan, # 5 Summons Proposed
                      Summons for David J. Worley, # 6 Summons Proposed Summons for Brian
                      Kemp)(MacDougald, Harry) (Entered: 11/27/2020)


                                                                                                         13
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 15 of 27



11/27/2020    4   Certificate of Interested Persons by James Kenneth Carroll, Vikki Townsend
                  Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                  Coreco Jaqan Pearson, Brian Jay Van Gundy. (MacDougald, Harry) (Entered:
                  11/27/2020)
11/27/2020    5   MOTION for Leave to File Matters Under Seal re: 1 Complaint,,,,,,,, with Brief
                  In Support by James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall
                  Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson,
                  Brian Jay Van Gundy. (Attachments: # 1 Exhibit Redacted Exh. 2 from
                  Complaint, # 2 Exhibit Redacted Exh.8 from the Complaint, # 3 Exhibit Exh. A,
                  Joint Cybersecurity Advisory Iranian Advanced Persistent Threat Actor
                  Identified Obtaining Voter Registration Data, # 4 Text of Proposed Order
                  Proposed Order)(MacDougald, Harry) (Entered: 11/27/2020)
11/27/2020    6   MOTION for Temporary Restraining Order IMMEDIATE HEARING
                  REQUESTED, MOTION for Preliminary Injunction with Brief In Support by
                  James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria
                  Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van
                  Gundy. (Attachments: # 1 Affidavit Declaration of Dr. Shiva Ayyadurai, # 2
                  Exhibit Joint CyberSecurity Advisory Exhibit, # 3 Text of Proposed
                  Order)(MacDougald, Harry) (Entered: 11/27/2020)
11/29/2020    7   NOTICE Of Filing Emergency Injunctive Relief by James Kenneth Carroll,
                  Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen
                  Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy re 6 MOTION for
                  Temporary Restraining Order IMMEDIATE HEARING REQUESTED
                  MOTION for Preliminary Injunction (Attachments: # 1 Affidavit Redacted
                  Declaration)(MacDougald, Harry) (Entered: 11/29/2020)
11/29/2020    8   Electronic Summons Issued as to Rebecca N. Sullivan. (rsh) (Entered:
                  11/29/2020)
11/29/2020    9   Electronic Summons Issued as to Matthew Mashburn. (rsh) (Entered:
                  11/29/2020)
11/29/2020   10   Electronic Summons Issued as to David J. Worley. (rsh) (Entered: 11/29/2020)
11/29/2020   11   Electronic Summons Issued as to Brian Kemp. (rsh) (Entered: 11/29/2020)
11/29/2020   12   Electronic Summons Issued as to Brad Raffensperger. (rsh) (Entered:
                  11/29/2020)
11/29/2020   13   Electronic Summons Issued as to Anh Le. (rsh) (Entered: 11/29/2020)
11/29/2020   14   ORDER. Please see Order for further specifics and details. Signed by Judge
                  Timothy C. Batten, Sr. on 11/29/2020. (usw) (Entered: 11/29/2020)
11/29/2020   18   Minute Entry for proceedings held before Judge Timothy C. Batten, Sr.:
                  Telephone Conference via ZOOM held on 11/29/2020 re briefing, scheduling,
                  and Plaintiff's request to forensically inspect county voting machines. (Court
                  Reporter Lori Burgess)(dmb) (Entered: 11/30/2020)
11/30/2020   15   1292(b) ORDER − Please see order for specifics and details. Signed by Judge
                  Timothy C. Batten, Sr. on 11/30/2020. (usw) (Entered: 11/30/2020)
11/30/2020   16


                                                                                                   14
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 16 of 27



                  NOTICE of Appearance by Charlene S McGowan on behalf of Brian Kemp,
                  Anh Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley (McGowan, Charlene) (Entered: 11/30/2020)
11/30/2020   17   ORDER Setting Hearing on Motion 6 MOTION for Temporary Restraining
                  Order IMMEDIATE HEARING REQUESTED and MOTION for Preliminary
                  Injunction : Motion Hearing set for 12/4/2020 at 10:00 AM in ATLA Courtroom
                  2106 before Judge Timothy C. Batten Sr. The Court sets the following schedule:
                  Defendants' brief in opposition to the claims in Plaintiffs' complaint will be due
                  on 12/2/2020, by 5:00 p.m. EST. Any reply brief will be due 12/3/2020 by 5:00
                  p.m. EST. Signed by Judge Timothy C. Batten, Sr. on 11/30/2020. (dmb)
                  (Entered: 11/30/2020)
11/30/2020   19   APPLICATION for Admission of Howard Kleinhendler Pro Hac Vice
                  (Application fee $ 150, receipt number AGANDC−10426686).by James
                  Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay
                  Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy.
                  (MacDougald, Harry) Documents for this entry are not available for viewing
                  outside the courthouse. (Entered: 11/30/2020)
11/30/2020        APPROVAL by Clerks Office re: 19 APPLICATION for Admission of Howard
                  Kleinhendler Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10426686).. Attorney Howard Kleinhendler added appearing on
                  behalf of James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall
                  Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson,
                  Brian Jay Van Gundy (nmb) (Entered: 11/30/2020)
11/30/2020   20   MOTION to Intervene with Brief In Support by Democratic Party of Georgia,
                  Inc., DSCC, DCCC. (Attachments: # 1 Exhibit A: Proposed Intervenors'
                  Proposed Motion to Dismiss, # 2 Exhibit B: Proposed Intervenors' Brief in
                  Support of Proposed Motion to Dismiss, # 3 Exhibit C: Proposed Intervenors'
                  Proposed Answer to Complaint)(Sparks, Adam) (Entered: 11/30/2020)
11/30/2020   21   NOTICE of Appearance by Russell D. Willard on behalf of Brian Kemp, Anh
                  Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley (Willard, Russell) (Entered: 11/30/2020)
11/30/2020   22   AMENDED 1292(b) ORDER − Please see order for specifics and details.
                  Signed by Judge Timothy C. Batten, Sr. on 11/30/2020. (dmb) (Entered:
                  11/30/2020)
11/30/2020        MINUTE ORDER granting Howard Kleinhendler's 19 Application for
                  Admission Pro Hac Vice. Entered by CRD at the direction of Judge Timothy C.
                  Batten, Sr. If the applicant does not have CM/ECF access in the Northern
                  District of Georgia already, they must request access at http://pacer.gov. If they
                  have electronically filed in this district in a previous case, please omit this
                  step.(usw) (Entered: 11/30/2020)
11/30/2020        Clerks Notation re 4 Certificate of Interested Persons. Reviewed and approved
                  by Judge Timothy C. Batten, Sr. (usw) (Entered: 11/30/2020)
11/30/2020   23   TRANSCRIPT of Proceedings held on 11/29/2020, before Judge Timothy C.
                  Batten, Sr.. Court Reporter/Transcriber Lori Burgess. A full directory of court
                  reporters and their contact information can be found at
                  www.gand.uscourts.gov/directory−court−reporters. Transcript may be viewed at


                                                                                                       15
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 17 of 27



                  the court public terminal or purchased through the Court Reporter/Transcriber
                  before the deadline for Release of Transcript Restriction. After that date it may
                  be obtained through PACER. Redaction Request due 12/21/2020. Redacted
                  Transcript Deadline set for 12/31/2020. Release of Transcript Restriction set for
                  3/1/2021. (Attachments: # 1 Notice of Filing Transcript) (llb) (Entered:
                  11/30/2020)
11/30/2020   24   APPLICATION for Admission of Julia Z. Haller Pro Hac Vice (Application fee
                  $ 150, receipt number AGANDC−10429766).by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. (MacDougald, Harry)
                  Documents for this entry are not available for viewing outside the courthouse.
                  (Entered: 11/30/2020)
12/01/2020   25   Certificate of Interested Persons by DCCC, DSCC, Democratic Party of
                  Georgia, Inc.. (Sparks, Adam) (Entered: 12/01/2020)
12/01/2020        Clerks Notation re 25 Certificate of Interested Persons. Reviewed and approved
                  by Judge Timothy C. Batten, Sr. (usw) (Entered: 12/01/2020)
12/01/2020   26   APPLICATION for Admission of Amanda J. Beane Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432164).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   27   APPLICATION for Admission of Amanda R. Callais Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432211).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   28   APPLICATION for Admission of Kevin J. Hamilton Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432219).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   29   APPLICATION for Admission of Marc E. Elias Pro Hac Vice (Application fee
                  $ 150, receipt number AGANDC−10432230).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   30   APPLICATION for Admission of Matthew Mertens Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432239).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020        APPROVAL by Clerks Office re: 24 APPLICATION for Admission of Julia Z.
                  Haller Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10429766).. Attorney Julia Z. Haller added appearing on behalf of
                  James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria
                  Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van
                  Gundy (nmb) (Entered: 12/01/2020)
12/01/2020   31   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco
                  Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Affidavit Declaration of


                                                                                                      16
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 18 of 27



                  Ronald Watkins)(MacDougald, Harry) (Entered: 12/01/2020)
12/01/2020   32   NOTICE OF APPEAL as to 14 Order by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. Filing fee $ 505, receipt
                  number AGANDC−10432999. Transcript Order Form due on 12/15/2020
                  (MacDougald, Harry) Modified on 12/2/2020 to correct filing fee amount (pjm).
                  (Entered: 12/01/2020)
12/01/2020   33   NOTICE Of Filing NOA Transmittal Letter re: 32 Notice of Appeal. (pjm)
                  (Entered: 12/01/2020)
12/01/2020   34   Transmission of Certified Copy of Notice of Appeal, USCA Appeal Fees, Order
                  and Docket Sheet to US Court of Appeals re: 32 Notice of Appeal. (pjm)
                  (Entered: 12/01/2020)
12/01/2020   35   AMENDED ANSWER to Complaint (Proposed) of Proposed
                  Intervenor−Defendants by DCCC, DSCC, Democratic Party of Georgia, Inc..
                  (Sparks, Adam) (Entered: 12/01/2020)
12/01/2020   36   USCA Acknowledgment of 32 Notice of Appeal, filed by Cathleen Alston
                  Latham, James Kenneth Carroll, Carolyn Hall Fisher, Coreco Jaqan Pearson,
                  Brian Jay Van Gundy, Gloria Kay Godwin and Vikki Townsend Consiglio. Case
                  Appealed to USCA− 11th Circuit. Case Number 20−14480−RR. (pjm) (Entered:
                  12/01/2020)
12/01/2020   37   ORDER STAYING 17 Order Setting Hearing on Motion. Signed by Judge
                  Timothy C. Batten, Sr. on 12/01/2020. (usw) (Entered: 12/01/2020)
12/02/2020        MINUTE ORDER granting Julia Z. Haller's 24 Application for Admission Pro
                  Hac Vice. Entered by CRD at the direction of Judge Timothy C. Batten, Sr. If
                  the applicant does not have CM/ECF access in the Northern District of Georgia
                  already, they must request access at http://pacer.gov. If they have electronically
                  filed in this district in a previous case, please omit this step.(usw) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 26 APPLICATION for Admission of Amanda
                  J. Beane Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432164).. Attorney Amanda J. Beane added appearing on behalf
                  of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 27 APPLICATION for Admission of Amanda
                  R. Callais Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432211).. Attorney Amanda R. Callais added appearing on behalf
                  of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 28 APPLICATION for Admission of Kevin J.
                  Hamilton Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432219).. Attorney Kevin J. Hamilton added appearing on behalf
                  of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 29 APPLICATION for Admission of Marc E.
                  Elias Pro Hac Vice (Application fee $ 150, receipt number

                                                                                                       17
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 19 of 27



                  AGANDC−10432230).. Attorney Marc E. Elias added appearing on behalf of
                  DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered: 12/02/2020)
12/02/2020        APPROVAL by Clerks Office re: 30 APPLICATION for Admission of
                  Matthew Mertens Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10432239).. Attorney Matthew Joseph Mertens added appearing on
                  behalf of DCCC, DSCC, Democratic Party of Georgia, Inc. (nmb) (Entered:
                  12/02/2020)
12/02/2020   38   RESPONSE in Opposition re 20 MOTION to Intervene filed by James Kenneth
                  Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin,
                  Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy.
                  (MacDougald, Harry) (Entered: 12/02/2020)
12/02/2020   39   USCA Order: Appellants' "Emergency Motion for expedited briefing schedule
                  and Review" filed by Appellants Coreco Ja'Qan Pearson, Vikki Townsend
                  Consiglio, Gloria Kay Godwin, James Kenneth Carroll, Carolyn Hall Fisher,
                  Cathleen Alston Latham and Brian Jay Van Gundy is GRANTED re: 32 Notice
                  of Appeal, filed by Cathleen Alston Latham, James Kenneth Carroll, Carolyn
                  Hall Fisher, Coreco Jaqan Pearson, Brian Jay Van Gundy, Gloria Kay Godwin
                  and Vikki Townsend Consiglio. Case Appealed to USCA− 11th Circuit. Case
                  Number 20−14480−RR. (pjm) (Entered: 12/02/2020)
12/02/2020   40   ORDER POSTPONING this Court's December 4th hearing, until further order
                  of the Court. Signed by Judge Timothy C. Batten, Sr. on 12/02/2020. (usw)
                  (Entered: 12/02/2020)
12/02/2020   41   Emergency MOTION to Intervene by DCCC, DSCC, Democratic Party of
                  Georgia, Inc.. (Callais, Amanda) (Entered: 12/02/2020)
12/03/2020   42   ORDER granting 20 Motion to Intervene; 41 Emergency Motion to Intervene by
                  The Democratic Party of Georgia, the DSCC and the DCCC. The Clerk is
                  directed to add these entities as parties and to docket their proposed motion to
                  dismiss [20−1], brief in support of motion to dismiss [20−2], and answer [20−3].
                  Signed by Judge Timothy C. Batten, Sr. on 12/3/20. (rsh) (Entered: 12/03/2020)
12/03/2020   43   MOTION to Dismiss by DCCC, DSCC, Democratic Party of Georgia, Inc.
                  (Attachments: # 1 Brief in Support)(rsh) (Entered: 12/03/2020)
12/03/2020   44   ANSWER to COMPLAINT by DCCC, DSCC, Democratic Party of Georgia,
                  Inc. Discovery ends on 5/3/2021.(rsh) Please visit our website at
                  http://www.gand.uscourts.gov to obtain Pretrial Instructions. (Entered:
                  12/03/2020)
12/03/2020   45   NOTICE Of Filing Evidence by James Kenneth Carroll, Vikki Townsend
                  Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                  Coreco Jaqan Pearson (Attachments: # 1 Exhibit Expert Report of Matthew
                  Braynard, # 2 Affidavit Declaration of Eric Quinnell, Ph.D. and S. Stanley
                  Young, Ph.D., # 3 Affidavit Affidavit of Benjamin O. Overholt,
                  Ph.D.)(MacDougald, Harry) (Entered: 12/03/2020)
12/03/2020        MINUTE ORDER granting Amanda J. Beane {26], Amanda R. Callais 27 ,
                  Kevin J. Hamilton 28 , Mark E. Elias 29 , and Matthew Mertens's 30
                  Application for Admission Pro Hac Vice. Entered by CRD at the direction of
                  Judge Timothy C. Batten, Sr. If the applicant does not have CM/ECF access in


                                                                                                     18
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 20 of 27



                  the Northern District of Georgia already, they must request access at
                  http://pacer.gov. If they have electronically filed in this district in a previous
                  case, please omit this step.(usw) (Entered: 12/03/2020)
12/03/2020   46   NOTICE OF CROSS APPEAL as to 14 Order by Brian Kemp, Anh Le,
                  Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J. Worley.
                  Filing fee $ 505, receipt number AGANDC−10445305. Transcript Order Form
                  due on 12/14/2020 (McGowan, Charlene) (Entered: 12/03/2020)
12/03/2020   47   NOTICE Of Filing NOA Transmittal Letter re: 46 Notice of Cross Appeal.
                  (pjm) (Entered: 12/03/2020)
12/03/2020   48   Transmission of Certified Copy of Notice of Cross Appeal, USCA Appeal Fees,
                  Order and Docket Sheet to US Court of Appeals re: 46 Notice of Cross Appeal.
                  (pjm) (Entered: 12/03/2020)
12/03/2020   49   NOTICE of Appearance by Carey Allen Miller on behalf of Brian Kemp, Anh
                  Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley (Miller, Carey) (Entered: 12/03/2020)
12/03/2020   50   NOTICE of Appearance by Joshua Barrett Belinfante on behalf of Brian Kemp,
                  Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J. Worley
                  (Belinfante, Joshua) (Entered: 12/03/2020)
12/03/2020   51   NOTICE of Appearance by Melanie Leigh Johnson on behalf of Brian Kemp,
                  Anh Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley (Johnson, Melanie) (Entered: 12/03/2020)
12/03/2020   52   Emergency MOTION Defendants' Emergency Motion for Relief from TRO 14
                  Order with Brief In Support by Brian Kemp, Anh Le, Matthew Mashburn, Brad
                  Raffensperger, Rebecca N. Sullivan, David J. Worley. (Attachments: # 1 Exhibit
                  Barnes Declaration, # 2 Exhibit Royston Declaration, # 3 Exhibit Eveler
                  Declaration)(Miller, Carey) (Entered: 12/03/2020)
12/03/2020   53   USCA Acknowledgment of 46 Notice of Cross Appeal, filed by Rebecca N.
                  Sullivan, David J. Worley, Brian Kemp, Anh Le, Matthew Mashburn and Brad
                  Raffensperger. Case Appealed to USCA− 11th Circuit. Case Number
                  20−14480−RR. (pjm) (Entered: 12/04/2020)
12/04/2020   54   USCA Order: Appellees Emergency Motion to Expedite Cross−Appeal and
                  Consolidate Briefing is GRANTED re: 46 Notice of Cross Appeal, filed by
                  Rebecca N. Sullivan, David J. Worley, Brian Kemp, Anh Le, Matthew
                  Mashburn and Brad Raffensperger and 32 Notice of Appeal, filed by Cathleen
                  Alston Latham, James Kenneth Carroll, Carolyn Hall Fisher, Coreco Jaqan
                  Pearson, Brian Jay Van Gundy, Gloria Kay Godwin and Vikki Townsend
                  Consiglio. Case Appealed to USCA− 11th Circuit. Case Number 20−14480−RR.
                  (pjm) (Entered: 12/04/2020)
12/04/2020   55   Emergency MOTION to Intervene with Brief In Support by John Mangano,
                  Alice O'Lenick, Ben Satterfield, Wandy Taylor, Stephen Day. (Tyson, Bryan)
                  (Entered: 12/04/2020)
12/04/2020   56   AMENDED SCHEDULING ORDER: Plaintiffs' complaint shall come before
                  the Court for hearing on Monday, December 7, at 10:00 a.m., EST, in the
                  ceremonial courtroom on the 23rd floor. Defendants' brief in opposition to the
                  claims in Plaintiffs' complaint will be due on Saturday, December 5, by 9:00

                                                                                                       19
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 21 of 27



                  p.m. EST. Any reply brief will be due on Sunday, December 6, by 6:00 p.m.
                  EST. Plaintiffs are also directed to file their response brief to the pending motion
                  43 to dismiss by Sunday, December 6, at 6:00 p.m. EST. In light of the
                  upcoming hearing, Defendants' emergency motion 52 to dissolve or alter the
                  November 29 temporary restraining order is denied. This renders moot the
                  Gwinnett County Board of Registrations and Electors members' pending
                  emergency motion 55 to intervene. Therefore, that motion is denied. Signed by
                  Judge Timothy C. Batten, Sr. on 12/4/20. (rsh) (Entered: 12/04/2020)
12/04/2020   57   ORDER granting 5 Plaintiff's Motion for Leave to File Matters Under Seal.
                  Affidavits are to be filed under seal until further order of the Court, and
                  Plaintiffs are permitted to file these affidavits with the identifying information
                  redacted in the public docket. Signed by Judge Timothy C. Batten, Sr. on
                  12/4/20. (rsh) (Entered: 12/04/2020)
12/04/2020   73   USCA Opinion received DISMISSING re: 46 Notice of Cross Appeal, filed by
                  Rebecca N. Sullivan, David J. Worley, Brian Kemp, Anh Le, Matthew
                  Mashburn, and Brad Raffensperger and 32 Notice of Appeal, filed by Cathleen
                  Alston Latham, James Kenneth Carroll, Carolyn Hall Fisher, Coreco Jaqan
                  Pearson, Brian Jay Van Gundy, Gloria Kay Godwin and Vikki Townsend
                  Consiglio. In accordance with FRAP 41(b), the USCA mandate will issue at a
                  later date. Case Appealed to USCA− 11th Circuit. Case Number 20−14480−RR.
                  (pjm) (Entered: 12/07/2020)
12/05/2020   58   RESPONSE in Opposition re 6 MOTION for Temporary Restraining Order
                  IMMEDIATE HEARING REQUESTED MOTION for Preliminary Injunction
                  Intervenor−Defendants' Response in Opposition to Plaintiffs' Emergency
                  Motion filed by DCCC, DSCC, Democratic Party of Georgia, Inc.. (Sparks,
                  Adam) (Entered: 12/05/2020)
12/05/2020   59   NOTICE Of Filing by DCCC, DSCC, Democratic Party of Georgia, Inc. re 58
                  Response in Opposition to Motion, Affidavits in Support of
                  Intervenor−Defendants' Resp. in Opp. to Pls.' Emergency Mot. (Attachments: #
                  1 Ex. 1. − Aff. of S. Valies, # 2 Ex. 2 − Aff. of A. Thomas, # 3 Ex. 3 − Aff. of
                  K. Brandon, # 4 Ex. 4 − Aff. of D. Sumner, # 5 Ex. 5 − Aff. of R. Laurie, # 6
                  Ex. 6 − Aff. of O. Alston, # 7 Ex. 7 − Aff. of R. Cason, # 8 Ex. 8 − Aff. of S.
                  Young, # 9 Ex. 9 − Aff. of B. Graham, # 10 Ex. 10 − Aff. of R. Short, # 11 Ex.
                  11 − Aff. of S. Ghazal, # 12 Ex. 12 − Aff. of S. Zydney, # 13 Ex. 13 − Aff. of K.
                  Patel)(Sparks, Adam) (Entered: 12/05/2020)
12/05/2020   60   MOTION to Exclude TESTIMONY OF SHIVA AYYADURAI, RUSSELL
                  JAMES RAMSLAND, JR., MATTHEW BRAYNARD, WILLIAM M.
                  BRIGGS, RONALD WATKINS, BENJAMIN A. OVERHOLT, ERIC
                  QUINNELL, S. STANLEY YOUNG, AND SPYDER with Brief In Support by
                  DCCC, DSCC, Democratic Party of Georgia, Inc.. (Sparks, Adam) (Entered:
                  12/05/2020)
12/05/2020   61   RESPONSE in Opposition re 6 MOTION for Temporary Restraining Order
                  IMMEDIATE HEARING REQUESTED MOTION for Preliminary Injunction
                  and Consolidated Brief in Support of Motion to Dismiss filed by Brian Kemp,
                  Anh Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Affidavit, # 5
                  Exhibit)(McGowan, Charlene) (Entered: 12/05/2020)



                                                                                                         20
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 22 of 27



12/05/2020   62   AFFIDAVIT re 60 MOTION to Exclude TESTIMONY OF SHIVA
                  AYYADURAI, RUSSELL JAMES RAMSLAND, JR., MATTHEW
                  BRAYNARD, WILLIAM M. BRIGGS, RONALD WATKINS, BENJAMIN A.
                  OVERHOLT, ERIC QUINNELL, S. STANLEY YOUNG, AND SPYDER, 58
                  Response in Opposition to Motion, Attorney Declaration of Amanda R. Callais
                  by DCCC, DSCC, Democratic Party of Georgia, Inc.. (Attachments: # 1 Ex. 1 −
                  Ansolabehere Report (Braynard), # 2 Ex. 2 − Ansolabehere Report (Briggs), # 3
                  Ex. 3 − Rodden Report, # 4 Ex. 4 − Mayer Report, # 5 Ex. 5 − Rodden and
                  Marble Report)(Sparks, Adam) (Entered: 12/05/2020)
12/05/2020   63   MOTION to Dismiss with Brief In Support by Brian Kemp, Anh Le, Matthew
                  Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J. Worley.
                  (Attachments: # 1 Brief)(McGowan, Charlene) (Entered: 12/05/2020)
12/06/2020   64   ORDER ALLOWING ATTORNEY CELLPHONES and LAPTOPS IN THE
                  COURTROOM on 12/07/2020 at 10:00 a.m. Signed by Judge Timothy C.
                  Batten, Sr. on 12/06/2020. (usw) (Main Document 64 replaced on 12/7/2020)
                  (rvb). (Entered: 12/06/2020)
12/06/2020   65   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco
                  Jaqan Pearson, Brian Jay Van Gundy of Electronic Media (MacDougald, Harry)
                  Modified on 12/7/2020, One (1) flash drive received by clerk and placed in civil
                  action file(tcc). (Entered: 12/06/2020)
12/06/2020   66   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco
                  Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Appendix Appendix
                  Vol. 4 from Appeal)(MacDougald, Harry) (Entered: 12/06/2020)
12/06/2020   67   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco
                  Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Affidavit Supplemental
                  Declaration of Quinnell and Young, # 2 Affidavit Declaration of S. Maturza, # 3
                  Affidavit Declaration of Wilburn J. Winter)(MacDougald, Harry) (Entered:
                  12/06/2020)
12/06/2020   68   RESPONSE in Opposition re 63 MOTION to Dismiss , 43 MOTION to
                  Dismiss, 6 MOTION for Temporary Restraining Order IMMEDIATE
                  HEARING REQUESTED MOTION for Preliminary Injunction Plaintiffs
                  Consolidated Response to the Motions to Dismiss and Reply in Support of
                  Emergency Motion for Injunctive Relief filed by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. (Attachments: # 1
                  Exhibit Wisconsin Order from Election Case)(MacDougald, Harry) (Entered:
                  12/06/2020)
12/06/2020   69   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco
                  Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Affidavit Affidavit of
                  Garland Favorito, # 2 Affidavit ffidavit of Scott Hall, # 3 Affidavit Affidavit of
                  Affiant A)(MacDougald, Harry) (Entered: 12/06/2020)
12/06/2020   70   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco

                                                                                                       21
    Case 1:20-cv-04809-TCB Document 78 Filed 12/08/20 Page 23 of 27



                  Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Exhibit Supplemental
                  Report of Russell Ramsland)(MacDougald, Harry) (Entered: 12/06/2020)
12/06/2020   71   APPLICATION for Admission of Sidney Powell Pro Hac Vice (Application fee
                  $ 150, receipt number AGANDC−10452641).by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. (MacDougald, Harry)
                  Documents for this entry are not available for viewing outside the courthouse.
                  (Entered: 12/06/2020)
12/06/2020   72   NOTICE Of Filing by Brian Kemp, Anh Le, Matthew Mashburn, Brad
                  Raffensperger, Rebecca N. Sullivan, David J. Worley (Attachments: # 1
                  Affidavit of Frances Watson, # 2 Affidavit of Juan Gilbert)(McGowan,
                  Charlene) (Entered: 12/06/2020)
12/07/2020        APPROVAL by Clerks Office re: 71 APPLICATION for Admission of Sidney
                  Powell Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10452641).. Attorney Sidney Powell added appearing on behalf of
                  James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria
                  Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van
                  Gundy (nmb) (Entered: 12/07/2020)
12/07/2020        MINUTE ORDER granting Sidney Powell's 71 Application for Admission Pro
                  Hac Vice. Entered by CRD at the direction of Judge Timothy C. Batten, Sr. If
                  the applicant does not have CM/ECF access in the Northern District of Georgia
                  already, they must request access at http://pacer.gov. If they have electronically
                  filed in this district in a previous case, please omit this step.(usw) (Entered:
                  12/07/2020)
12/07/2020   74   Minute Entry for proceedings held before Judge Timothy C. Batten, Sr.: Motion
                  Hearing held on 12/7/2020 granting 43 Motion to Dismiss and 63 Motion to
                  Dismiss. TRO is DISSOLVED. Case is DISMISSED. Clerk shall close the case.
                  (Court Reporter Lori Burgess)(dmb) (Entered: 12/07/2020)
12/07/2020   75   CLERK'S JUDGMENT (dmb)−−Please refer to http://www.ca11.uscourts.gov
                  to obtain an appeals jurisdiction checklist−− (Entered: 12/07/2020)
12/07/2020        Civil Case Terminated. (dmb) (Entered: 12/07/2020)
12/07/2020   76   NOTICE OF APPEAL as to 75 Clerk's Judgment, 74 Order on Motion to
                  Dismiss,,,, Motion Hearing, by James Kenneth Carroll, Vikki Townsend
                  Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                  Coreco Jaqan Pearson, Brian Jay Van Gundy. Filing fee $ 505, receipt number
                  AGANDC−10458354. Transcript Order Form due on 12/21/2020 (MacDougald,
                  Harry) (Entered: 12/07/2020)
12/08/2020   77   NOTICE Of Filing NOA Transmittal Letter re: 76 Notice of Appeal. (pjm)
                  (Entered: 12/08/2020)




                                                                                                       22
CM/ECF-GA Northern District Court                                  https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?943543211146275-...
                        Case
                         Case1:20-cv-04809-TCB
                              1:20-cv-04809-TCB Document
                                                 Document78
                                                          74 Filed
                                                              Filed12/08/20
                                                                    12/07/20 Page
                                                                              Page24
                                                                                   1 of 27
                                                                                        2




                                                  1:20-cv-04809-TCB
                                              Pearson et al v. Kemp et al
                                            Honorable Timothy C. Batten, Sr.

                                Minute Sheet for proceedings held In Open Court on 12/07/2020.


              TIME COURT COMMENCED: 10:00 A.M.
              TIME COURT CONCLUDED: 11:06 A.M.                    COURT REPORTER: Lori Burgess
              TIME IN COURT: 1:06                                 DEPUTY CLERK: Uzma Wiggins
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Joshua Belinfante representing Brad Raffensperger
         PRESENT:                   Joshua Belinfante representing Brian Kemp
                                    Joshua Belinfante representing David J. Worley
                                    Joshua Belinfante representing Matthew Mashburn
                                    Joshua Belinfante representing Rebecca N. Sullivan
                                    Amanda Callais representing DCCC
                                    Amanda Callais representing DSCC
                                    Amanda Callais representing Democratic Party of Georgia, Inc.
                                    Julia Haller representing Brian Jay Van Gundy
                                    Julia Haller representing Carolyn Hall Fisher
                                    Julia Haller representing Cathleen Alston Latham
                                    Julia Haller representing Coreco Jaqan Pearson
                                    Julia Haller representing Gloria Kay Godwin
                                    Julia Haller representing James Kenneth Carroll
                                    Julia Haller representing Vikki Townsend Consiglio
                                    Harry MacDougald representing Brian Jay Van Gundy
                                    Harry MacDougald representing Carolyn Hall Fisher
                                    Harry MacDougald representing Cathleen Alston Latham
                                    Harry MacDougald representing Coreco Jaqan Pearson
                                    Harry MacDougald representing Gloria Kay Godwin
                                    Harry MacDougald representing James Kenneth Carroll
                                    Harry MacDougald representing Vikki Townsend Consiglio
                                    Charlene McGowan representing Anh Le
                                    Charlene McGowan representing Brad Raffensperger
                                    Charlene McGowan representing Brian Kemp
                                    Charlene McGowan representing David J. Worley

                                                                                                                             23
1 of 2                                                                                                             12/7/2020, 2:36 PM
CM/ECF-GA Northern District Court                                 https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?943543211146275-...
                        Case
                         Case1:20-cv-04809-TCB
                              1:20-cv-04809-TCB Document
                                                 Document78
                                                          74 Filed
                                                              Filed12/08/20
                                                                    12/07/20 Page
                                                                              Page25
                                                                                   2 of 27
                                                                                        2

                                    Charlene McGowan representing Matthew Mashburn
                                    Charlene McGowan representing Rebecca N. Sullivan
                                    Carey Miller representing Anh Le
                                    Carey Miller representing Brad Raffensperger
                                    Carey Miller representing Brian Kemp
                                    Carey Miller representing David J. Worley
                                    Carey Miller representing Matthew Mashburn
                                    Carey Miller representing Rebecca N. Sullivan
                                    Sidney Powell representing Brian Jay Van Gundy
                                    Sidney Powell representing Carolyn Hall Fisher
                                    Sidney Powell representing Cathleen Alston Latham
                                    Sidney Powell representing Coreco Jaqan Pearson
                                    Sidney Powell representing Gloria Kay Godwin
                                    Sidney Powell representing James Kenneth Carroll
                                    Sidney Powell representing Vikki Townsend Consiglio
                                    ** Abigail Frye
         PROCEEDING
                                    Motion Hearing(PI or TRO Hearing-Evidentiary);
         CATEGORY:
         MOTIONS RULED              [43]Motion to Dismiss GRANTED
         ON:                        [63]Motion to Dismiss GRANTED

         MINUTE TEXT:               Defendants' motions are GRANTED. TRO is DISSOLVED. Case is
                                    DISMISSED. Clerk shall close the case.
         HEARING STATUS:            Hearing Concluded




                                                                                                                            24
2 of 2                                                                                                            12/7/2020, 2:36 PM
      Case
       Case1:20-cv-04809-TCB
            1:20-cv-04809-TCB Document
                               Document78
                                        75 Filed
                                            Filed12/08/20
                                                  12/07/20 Page
                                                            Page26
                                                                 1 of 27
                                                                      2




                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO, GLORIA KAY
GODWIN, JAMES KENNETH
CARROLL, CAROLYN HALL
FISHER,
CATHLEEN ALSTON LATHAM
and BRIAN JAY VAN GUNDY
                    Plaintiffs,                CIVIL ACTION FILE

vs.                                            NO. 1:20-cv-4809-TCB
BRIAN KEMP, in his official
capacity as Governor of Georgia,
BRAD RAFFENSPERGER,
in his official
capacity as Secretary of State and
Chair of the Georgia State
Election Board, DAVID J.
WORLEY, in his official capacity
as a member of the Georgia State
Election Board, REBECCA N.
SULLIVAN, in her
official capacity as a member of
the Georgia State Election Board,
MATTHEW MASHBURN, in his
official capacity as a member of
the Georgia State Election Board,
and ANH LE, in her official
capacity as a member of the
Georgia State Election Board,

                    Defendants,


DEMOCRATIC PARTY OF
GEORGIA, INC., DSCC, DCCC,
JOHN MANGANO, ALICE
O’LENICK, BEN
SATTERFIELD, WANDY
TAYLOR, and STEPHEN DAY,
                 Intervenors.




                                                                           25
       Case
        Case1:20-cv-04809-TCB
             1:20-cv-04809-TCB Document
                                Document78
                                         75 Filed
                                             Filed12/08/20
                                                   12/07/20 Page
                                                             Page27
                                                                  2 of 27
                                                                       2




                                    JUDGMENT

      This action having come before the court, Honorable Timothy C. Batten, Sr.,

United States District Judge, for consideration of defendant’s and the intervenor

defendant’s motions to dismiss, and the court having granted said motions, it is

      Ordered and Adjudged that the action be, and the same hereby is, dismissed.

Dated at Atlanta, Georgia, this 7th day of December, 2020.

                                                       JAMES N. HATTEN
                                                       CLERK OF COURT


                                                 By:    s/ D. Barfield
                                                         Deputy Clerk

Prepared, Filed, and Entered
in the Clerk=s Office
December 7, 2020
James N. Hatten
Clerk of Court

By:   s/ D. Barfield
      Deputy Clerk




                                                                                    26
